      Case 3:22-cv-00256 Document 7 Filed on 08/03/22 in TXSD Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION
CITY OF GALVESTON,                         §
     Plaintiff,                            §
                                           §
vs.                                        §   CIVIL ACTION NO. 3:22-cv-00256
                                           §
SONYA PORRETTO,                            §
    Defendant.                             §
         THE CITY OF GALVESTON’S WITHDRAWAL OF NOTICE OF
              VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       The City of Galveston (“City”) withdraws its Notice of Voluntary Dismissal

Without Prejudice (ECF No. 5) (the “Notice”).

       After the City filed its Notice, Defendant Sonya Porretto (“Porretto”) advised

counsel for the City that she purportedly had served an answer containing an invalid

Certificate of Service on or about July 30, 2022.

       The parties currently are conferring about whether agreement can be reached on a

stipulation of dismissal under FED. R. CIV. P. 41(a)(1)(A)(ii).

       Absent an agreement resulting in dismissal, the City will move to remand the case

based upon Porretto’s improper removal.
     Case 3:22-cv-00256 Document 7 Filed on 08/03/22 in TXSD Page 2 of 2




                                        Respectfully submitted,

                                        By: /s/ Barry Abrams
                                        Barry Abrams
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                                        ATTORNEYS FOR PLAINTIFF
                                        THE CITY OF G ALVESTON

                            CERTIFICATE OF SERVICE
       I certify that on August 3, 2022, a true and correct copy of the foregoing and/or
attached instrument was served via the Court’s Electronic Filing System on all parties
requesting notice in this Proceeding.

                                          /s/ Barry Abrams
                                        Barry Abrams




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